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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GEORGIA REPUBLICAN PARTY,
INC., NATIONAL REPUBLICAN
SENATORIAL COMMITTEE, PERDUE
FOR SENATE, and GEORGIANS FOR                        Case No. ____________
KELLY LOEFFLER,

                          Plaintiffs,                DECLARATORY AND
                                                     INJUNCTIVE RELIEF
       v.
                                                     SOUGHT
BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State of
Georgia, REBECCA N. SULLIVAN, in
her official capacity as the Vice Chair of
the State Election Board, DAVID J
WORLEY, MATTHEW MASHBURN,
and ANH LE, in their official capacity as
Members of the State Election Board,

                          Defendants.




                            VERIFIED COMPLAINT

      Plaintiffs respectfully seek declaratory and injunctive relief on an expedited

basis in order to increase confidence in the fairness and openness of the 2021 runoff

election for Georgia’s U.S. Senators by further enhancing procedures to assure the

integrity of processing absentee ballots. “Having once granted the right to vote on
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equal terms, the State may not, by later arbitrary and disparate treatment, value one

person’s vote over that of another.” Bush v. Gore, 531 U.S. 98, 104-05 (2000). An

emergency motion and motion for a TRO and preliminary injunction is being filed

contemporaneous with this Complaint.

                              NATURE OF THE CASE

      1.       All eyes are on Georgia for the upcoming runoff election for both U.S.

Senate seats. Public confidence in the integrity of the elections process is essential

to the preservation of our democratic system. Unfortunately, there are constitutional

flaws in the current process for checking absentee voter signatures that must be

remedied before county clerks begin processing absentee ballots on December 21,

after which time constitutional violations will be impossible to remedy. Plaintiffs

seek modest injunctive relief targeted at improving election administration before

the election votes are processed. All validly cast votes should be counted and none

of those should be diluted by counting invalid or unverified ballots.

      2.       Georgia election officials, from the state level to the local level, have

undertaken significant efforts to assure the integrity of the Georgia election process

in the runoff. Those efforts should be commended, and this lawsuit is brought to

augment and further improve them. The Official Election Bulletin, dated Dec. 9,

2020, while addressing signature verification, unfortunately, does not resolve the



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problems identified in this Complaint. The recent changes were and are necessary

due in part to a greatly increased use of absentee voting in Georgia in this election

cycle. In close elections where voting is by a sharply divided electorate, a greater

use of absentee ballots can have a greater impact on election integrity simply because

more absentee ballots present a greater potential impact on the outcome than when

a smaller number of absentee ballots are cast. Verification of absentee ballots is

inherently more challenging than is verification of in-person voting.

      3.       This case seeks to vindicate the constitutional rights of Georgia electors

and candidates whose constitutional rights will be violated by an unreliable and non-

transparent process of verifying signatures for absentee voting, the standards for

which vary by county, indeed from reviewer to reviewer. This process would deny

equal protection of the law to voters and candidates alike. To the extent improper

and invalid, or even unverified, absentee ballots could be counted in the 2021 runoff

elections for Georgia’s U.S. Senate seats, the Plaintiffs’ legal rights and the rights of

their members will be irreparably harmed. The modest remedies sought herein are

to avoid that harm.

      4.       Despite earnest efforts to modernize and improve how Georgia

processes absentee votes, there is a serious problem with one critical part of the

process. Signature verification is central to validating absentee ballots and ensuring



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integrity in how the fastest growing share of the overall vote is counted. When votes

are cast in person, Georgia requires photo identification to protect the integrity of

the election process. O.C.G.A. 21-2-417. In contrast, absentee ballots are verified by

signature comparison, not secure photo identification. By statute, a single election

official compares the signature on the absentee ballot oath to the voters’ signature

on file. O.C.G.A. § 21-2-386(B). If the signature is missing or rejected, then the

ballot is segregated and the office contacts the voter to provide an opportunity to

cure the invalid ballot. O.C.G.A. § 21-2-386(C). As explained in more detail below,

many counties in Georgia in the November 3, 2020 general election accepted

virtually all absentee ballot signatures, rejecting impossibly low numbers of

mismatched signatures, and even failing to find any missing signatures. The lax

signature validation process stands in conflict with any fair or consistent process for

verifying signatures.

      5.       Interested parties challenged this process as constitutionally deficient

because the “standardless and unreliable signature matching procedure” allowed an

“untrained county election officials acting without any state guidance” to “reject

ballots where they perceive a signature mismatch,” in violation of the U.S.

Constitution. See Democratic Party of Ga., et al. v. Raffensperger, et al., No. 19-cv-

5028-WMR Doc.#30, p.3. The state resolved this challenge by agreeing to a consent



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decree which called for additional review from two other officials before a signature

could be rejected, as well as bolstering the process provided for contacting voters

who had signatures rejected to allow them an opportunity to cure any deficiencies.

Id. Doc.#53; State Election Board Rule 83-1-14.13.

      6.       The Secretary of State recently issued an Election Bulletin, dated

December 9, 2020. That document states that signature verification should have

public observation, but only if that observation cannot actually see any signatures.

While the Bulletin notes there should be “meaningful” observation of the signature

verification process, it provides no means to accomplish meaningful observation:

the process continues to (i) lack any additional reviewer, and (ii) it has no mechanism

for truly being able to observe and object to apparently invalid signatures, or to

observer and report irregularities in the verification process. Thus, while the intent

of the Bulletin’s guidance may have been to improve election integrity, more

specific measures are needed to accomplish that goal.

      7.       To assure election integrity and fairness in the process, the signature

verification procedure should put equal weight on including valid matches and

excluding invalid ones. As recently modified, the Georgia system for absentee

signature verification thus provides both (1) three-person review and transparency,

and (2) opportunity to redress mistakes in signature verification—but only for



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signatures that are rejected. When improper signatures are initially accepted, there

are (1) no additional persons to review, and (2) no opportunity to redress mistakes

or invalid signatures. Crucially, both improperly rejected and accepted signatures

undermine the integrity of the election process and result in validly cast votes being

discarded or diluted. Plaintiffs seek to provide a fair and transparent process for the

rest of the absentee ballot signature verification process.

                                    BACKGROUND

        8.       In November 2020, Georgia held a general election for both of its seats

in the United States Senate, which are currently held by Senators David A. Perdue

and Kelly L. Loeffler. The election failed to yield a majority vote for either office.

Accordingly, per state law, Georgia will now hold a runoff election on January 5,

2021.

        9.       As a result of the COVID-19 pandemic, the November general election

saw an unprecedented number of absentee ballots. Georgians cast 1,322,529

absentee ballots in the November 2020 general election, a 350% increase from the

November 2018 general election. As the pandemic rages on, a record number of

absentee ballots are also expected in the runoff.

        10.      The review procedures provided by the Georgia General Assembly for

verifying absentee ballots are inadequate for the dramatic increase in absentee



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voting. In particular, Georgia’s signature matching process—whereby county

officials compare an absentee voter’s signature on his or her ballot envelope with

the voter’s signature—was applied haphazardly and inconsistently throughout the

state, if not abandoned altogether, such that this critical fraud detection procedure

was in many precincts effectively nullified.

      11.    More specifically, the extremely low rejection rates for signature

mismatches in some counties reveal that officials in those counties failed to

meaningfully conduct the signature matching process required by the Georgia

General Assembly, resulting in thousands of absentee ballots being counted without

an adequate check on their validity. Moreover, the disparity in verification rates

across Georgia’s 159 counties reveals that, even where officials may have attempted

to implement the signature matching process, the procedures and criteria they

employed differed from county to county. In addition, the election data from the

November 3, 2020 general election demonstrates that rejection rates based on

signature mismatch dropped substantially compared to the 2018 and 2016 elections,

suggesting that new review procedures implemented on November 3, which require

three-person review only of ballots that are being considered for rejection, may have

caused reviewers to disregard the General Assembly’s mandate to conduct a

meaningful signature matching process.



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      12.    The same problems experienced in the 2020 general and special

elections will again manifest in the runoff if this Court does not grant immediate

relief in the form of declaratory and injunctive relief directing Georgia’s Secretary

of State and its State Election Board to bolster the signature matching process to

provide the meaningful fraud protections mandated by the General Assembly. The

urgency of this relief is manifest: absentee ballots are already being completed, and

Defendants will begin processing these ballots on December 21, 2020. See SEB Rule

183-1-14-0.9-.15(1); Sec’y State, 2020 State Elections and Voter Registration

Calendar

https://sos.ga.gov/admin/files/2020%20Revised%20Short%20Calendar.pdf.

      13.    At that point—i.e., when the absentee ballots are separated from their

envelopes for processing—any attempt to conduct a more thorough signature

matching process and exclude illegal votes will be futile, as ballot secrecy

requirements mean that any votes lacking a proper signature will be mixed in with

legitimate votes and thus become impossible to identify.

      14.    To ensure that the signature matching process is performed fulsomely

and consistently throughout the state, Plaintiffs respectfully request that the Court

immediately (i) declare that the current Georgia signature matching process is

unconstitutional under the First and Fourteenth Amendments to the United States



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Constitution; (ii) order Defendants to implement signature review of all absentee

ballots by three reviewers, including providing meaningful public observation from

at least one person from each political party represented by the candidates; (iii) order

Defendants to implement election safeguards to require ballots with mismatched

signatures as determined by reviewers to be segregated for additional review

consistent with procedures for rejected ballots; (iv) order Defendants to provide

consistent signature-matching standards to all reviewers.

                                      PARTIES

      15.    Plaintiff Georgia Republican Party, Inc. is a state committee, as defined

by 52 U.S.C. § 30101(15), a Georgia Political Party as defined by O.C.G.A. § 21-2-

2(25), a domestic non-profit corporation, and the official Republican Party

organization of the state of Georgia. Plaintiff represents a diverse group of members

and stakeholders across Georgia, including elected officials, candidates for elected

office, state committee members, advisory caucuses, affiliate groups, and active

voters. These members and constituents, including many eligible voters, regularly

support and vote for candidates affiliated with the Republican Party, including

candidates seeking election to the United States Senate. Plaintiff’s members vote in

federal elections and aid and urge others in voting. Senators David A. Perdue and




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Kelly L. Loeffler, both candidates for the current runoff election, are members of the

Georgia Republican Party and electors in Georgia.

      16.    Plaintiff NRSC is a Republican political committee that is established

and maintained as a national political party, as defined in 11 C.F.R. § 110.2(c)(2)(iii)

and 52 U.S.C. § 30116(h). The NRSC is a national organization solely devoted to

strengthening the Republican Senate Majority and electing Republicans to the

United States Senate. The NRSC accomplishes this mission by supporting and

assisting current and prospective Republican U.S. Senate candidates throughout the

country, including in Georgia, in the areas of budget planning, election law

compliance, fundraising, communications tools and messaging, and research and

strategy. In 2020, the NRSC made substantial contributions and expenditures to

support the two Republican Senate candidates in Georgia in the November 3, 2020

general election, it has already made substantial contributions and expenditures to

support these candidates in the January 5, 2021 runoff, and it intends to make further

expenditures in connection with the runoff election. The NRSC frequently represents

the interests of Republican Senator candidates, including Senators, David A. Perdue

and Kelly L. Loeffler as candidates for the Georgia runoff election.




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       17.       Plaintiff Perdue for Senate is the principal campaign committee

supporting David A. Perdue’s campaign for the United States Senate, within the

meaning of 52 U.S.C. § 30102(e).

       18.       Plaintiff Georgians for Kelly Loeffler is the principal campaign

committee supporting Kelly L. Loeffler’s campaign for the United States Senate,

within the meaning of 52 U.S.C. § 30102(e).

       19.       Defendant Brad Raffensperger is the Secretary of State of Georgia (“the

Secretary”). Under Georgia law, the Secretary is “the state’s chief election official.”

O.C.G.A. § 21-2-50(b); see also id. § 21-2-210. The Secretary has the authority and

responsibility to manage Georgia’s electoral system. See Grizzle v. Kemp, 634 F.3d

1314, 1319 (11th Cir. 2011) (explaining that the office of Secretary of State “imbues

[the Secretary] with the responsibility to enforce the [election] law or laws at issue

in the suit”).

       20.       Under Georgia law, the Secretary is also the Chairman of the State

Election Board (“the Board”), which has “the duty” “[t]o promulgate rules and

regulations so as to obtain uniformity in the practices and proceedings of

superintendents, registrars, deputy registrars, poll officers, and other officials, as

well as the legality and purity in all primaries and elections.” O.C.G.A. § 21-2-31(1).




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The Board also has the duty to ensure the “fair, legal, and orderly conduct of

primaries and elections.” Id. § 21-2-31(2), (10).

       21.    Defendant Rebecca N. Sullivan is the Vice Chair of the State Election

Board, and Defendants David J. Worley, Matthew Mashburn, and Anh Le are

Members of the State Election Board. These Defendants—acting together with the

Secretary—carry out the duties of the State Election Board as laid out in Georgia

law. See, e.g., O.C.G.A. § 21-2-31.

       22.    The Secretary and the State Election Board have the authority to direct

each county’s officials who are responsible for administering elections in Georgia.

See O.C.G.A. § 21-2-31(1). The State Election Board promulgates rules or

emergency rules that provide uniform guidance to county officials regarding the

conduct of elections. See id.; see also id. § 50-13-4 (describing the rulemaking

process); Rules and Rulemaking of the State Election Board, State Election Board

(Last visited Dec. 4, 2020) (listing all the rules and emergency rules promulgated by

the                     State                       Election                 Board),

https://sos.ga.gov/index.php/elections/state_election_board. The Secretary has,

from time to time, also issued Official Election Bulletins to Georgia’s counties.

       23.    All Defendants are sued for declaratory and injunctive relief in their

official capacities.



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                          JURISDICTION AND VENUE

      24.    This Court has subject-matter jurisdiction over this action because it

arises under the laws and Constitution of the United States. 28 U.S.C. § 1331.

Specifically, this action is brought pursuant to 42 U.S.C. §§ 1983 and 1988 to

enforce and to enjoin violations of the First and Fourteenth Amendments to the U.S.

Constitution. The Court also has subject-matter jurisdiction under 28 U.S.C.

§ 1343(a)(3) and (a)(4), because this action seeks “[t]o redress the deprivation, under

color of any State law, statute, ordinance, regulation, custom or usage, of any right,

privilege or immunity secured by the Constitution of the United States or by any Act

of Congress provision for equal rights of citizens,” and “to secure equitable or other

relief under [an] Act of Congress providing for the protection of civil rights,

including the right to vote.”

      25.    Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202.

      26.    This Court has personal jurisdiction over Defendants, who are sued in

their official capacity only.

      27.    Venue is proper in this District because all Defendants reside in Georgia

and because a substantial part of the events giving rise to Plaintiffs’ claims will occur

within this judicial District. See 28 U.S.C. § 1391(b)(1), (2).




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      28.    Plaintiffs have standing in their own right. Defendants’ failure to apply

Georgia election laws fairly and equally directly harms Plaintiffs’ organizational

mission of increasing voter turnout for the January 5, 2021 runoff election, electing

the two Republican candidates in that election, and educating voters. Plaintiffs have

expended extraordinary resources to encourage Georgians to vote in the 2021 runoff

election, to aid the two Republican candidates, and to educate Georgia voters

regarding Georgia’s voting procedures, including with respect to Georgia’s signature

matching procedure. Counting potentially invalid absentee ballots frustrates

Plaintiffs’ mission and dilutes lawful votes cast for Republican candidates in the

runoff election.

      29.    Plaintiffs must divert resources away from their mission of electing

Republican candidates and urging Georgians to vote for Senators Perdue and

Loeffler in the upcoming runoff election to address the impact of the unlawful

signature matching process, including the loss of voter confidence in the fairness of

the election arising from lax enforcement of the signature matching process.

      30.    In addition, Plaintiffs have standing because Plaintiffs’ members

unquestionably would have standing to sue in their own right. Plaintiffs may

vindicate their members’ interests (including the election of Republican candidates,

the implementation of fair and equal election procedures in the 2021 runoff election,



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and the prevention of vote dilution for the two Republican Senate candidates)

because they are crucial to Plaintiffs’ purpose. Furthermore, the claims asserted and

the relief requested do not require the participation of individual members in this

lawsuit. See Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333, 343 (1977).

         31.   Two of Plaintiffs’ members, Senators David A. Perdue and Kelly L.

Loeffler, ran for election to the U.S. Senate in the 2020 general and special elections

and will be on the ballot in the 2021 runoff election for Georgia’s U.S. Senate seats.

         32.   These and other of Plaintiffs’ members voted in the 2020 November

election and intend to vote in the 2021 runoff election for Georgia’s U.S. Senate

seats.

         33.   Plaintiffs and their members will be imminently injured by Georgia’s

failure to consistently implement, or even implement at all, the signature matching

process mandated by the General Assembly because such failure in the runoff is

likely to result in unlawful votes being counted and lawful votes for Republican

candidates being diluted. Plaintiffs’ members will also be injured because signature

matching procedures are applied unequally throughout the state.

         34.   Plaintiffs’ candidate-members suffer “a personal, distinct injury”

because they are harmed by the state’s procedurally deficient signature matching

process. See Wood v. Raffensperger, et al., No. 20-14418 (11th Cir., Dec. 5, 2020).



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        35.   These injuries are caused by the signature matching process and

Defendants’ improper application of that process, which will lead to the counting

and certification of invalid absentee ballots.

        36.   Plaintiffs’ injuries and the injuries of Plaintiffs’ members will be

redressed if the Court grants the relief requested.

                            FACTUAL ALLEGATIONS

        37.   Georgia’s November 2020 election featured a general and a special

election to fill each of its two U.S. Senate seats. Over 1.3 million absentee votes

were cast in the November 2020 election, approximately one quarter of all votes

cast.

        38.   No candidate for either of Georgia’s Senate seats received a majority

of the votes cast. See November 3, 2020 General Election, Ga. Sec’y of State Brad

Raffensperger       (last    updated       Nov.       20,     2020,   3:37     PM),

https://results.enr.clarityelections.com/GA/105369/web.264614/#/summary.

        39.   Accordingly, Georgia law requires the election to proceed to a runoff.

See O.C.G.A. § 21-2-501(a)(1); GA Const. art. II, § 2, ¶ 2.

        40.   The runoff election is scheduled for January 5, 2021. See O.C.G.A.

§ 21-2-501(a)(3). Observers expect that the election will be close, see Jenni Fink,

What Polls Say About Kelly Loeffler and Raphael Warnock One Month Before



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Georgia’s Election, Newsweek (Dec. 5, 2020), https://www.newsweek.com/what-

polls-say-about-kelly-loeffler-raphael-warnock-one-month-before-georgias-

election-1552241, in a state where the Presidential election was determined by just

12,670 votes, or 0.3% of all votes cast.

      41.    As of the filing of this lawsuit, the projected make-up of the United

States Senate in the 117th Congress is 50 Republicans and 48 Democrats.

      42.    Therefore, the results of the Georgia runoff will determine which party

controls the Senate. See Siobhan Hughes & Cameron McWhirter, Senate Control

Hinges on Four Uncalled Election Results With Republicans Holding Edge, Wall

St. J. (Nov. 4, 2020), https://www.wsj.com/articles/senate-election-2020-results-11-

04-2020-11604511606?mod=searchresults_pos13&page=5.

       Georgia’s Absentee Ballot Review and Signature Matching Process

      43.    This Court has recognized that the State of Georgia undoubtedly has “a

strong interest in maintaining the integrity of elections,” which is furthered by the

requirement that its election officials verify that the signature on an absentee ballot

matches a reference signature for the voter. Martin v. Kemp, 341 F. Supp. 3d 1326,

1339 (N.D. Ga. 2018). Indeed, signature matching requirements are a

“commonplace and eminently sensible” means of preventing fraud. Middleton v.

Andino, 976 F.3d 403, 405 (4th Cir. 2020) (Wilkinson, J. and Agee, J., dissenting



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from grant of rehearing en banc); see Andino v. Middleton, No. 20A55, 2020 WL

5887393, at *1 (U.S. Oct. 5, 2020) (reinstating signature match requirement).

      44.   Under O.C.G.A. § 21-2-386(a)(l)(B), the Georgia General Assembly

instructs the county registrars and clerks (the “County Officials”), and anyone else

who handles absentee ballots, to conduct the following procedure:

            Upon receipt of each ballot, a registrar or clerk shall write
            the day and hour of the receipt of the ballot on its envelope.
            The registrar or clerk shall then compare the identifying
            information on the oath with the information on file in his
            or her office, shall compare the signature or mark on the
            oath with the signature or mark on the absentee elector’s
            voter registration card or the most recent update to such
            absentee elector’s voter registration card and application
            for absentee ballot or a facsimile of said signature or mark
            taken from said card or application, and shall, if the
            information and signature appear to be valid and other
            identifying information appears to be correct, so certify by
            signing or initialing his or her name below the voter’s oath.
            Each elector’s name so certified shall be listed by the
            registrar or clerk on the numbered list of absentee voters
            prepared for his or her precinct.

O.C.G.A. § 21-2-386(a)(1)(B).

      45.   Georgia law provides no guidance to its election officials to determine

whether the signature on the oath matches a reference signature, and no standards

have been developed to guide the signature matching process. Nor does Georgia’s

signature matching process provide for any oversight or observation of the

determination by election officials scattered across Georgia’s 159 counties as to

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whether a signature matches, precluding any reasonable assurance that an absentee

ballot was in fact cast by an eligible Georgia voter. Thus, the signature matching

process is arbitrary.

      46.    Where an elector has failed to sign the oath on the outside envelope

enclosing their ballot or the signature does not conform with the signature on the

absentee elector’s voter registration card or other appropriate record, the Georgia

General Assembly also provides a process for addressing such defective ballots.

      47.    “If the elector has failed to sign the oath, or if the signature does not

appear to be valid, or if the elector has failed to furnish required information or

information so furnished does not conform with that on file in the registrar’s or

clerk’s office, or if the elector is otherwise found disqualified to vote, the registrar

or clerk shall write across the face of the envelope ‘Rejected,’ giving the reason

therefor.” O.C.G.A. § 21-2-386(a)(1)(C).

      48.    The elector is then required to be given the opportunity to cure the

problem resulting in the rejection of the ballot by submitting an appropriate affidavit

and a copy of one of the accepted forms of identification. Id. If the ballot is cured,

and the County Officials find “the affidavit and identification to be sufficient, the

absentee ballot shall be counted.” Id.




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      49.    However, to the extent a rejected absentee ballot is not cured according

to Georgia law, or the affidavit and identification are not found to be sufficient, the

rejected absentee ballot may not be counted in an election. Id.

      50.    On March 6, 2020, Defendants (and others) entered into a

“Compromise and Settlement Agreement and Release” (the “Litigation Settlement”)

in the case of Democratic Party of Georgia, Inc., et al. v. Raffensperger, et al., Case

No. 1:l 9-cv-05028-WMR (N.D. Ga. Mar. 6, 2020), ECF No. 56-1, which added to

the statutory procedures for the signature matching process in certain important

respects.

      51.    Specifically, the Litigation Settlement imposed the following additional

procedures for signature matching:

             If the registrar or absentee ballot clerk determines that the
             voter’s signature on the mail-in absentee ballot envelope
             does not match any of the voter’s signatures on file . . . ,
             the registrar or absentee ballot clerk must seek review
             from two other registrars, deputy registrars, or absentee
             ballot clerks. A mail-in absentee ballot shall not be
             rejected unless a majority of the registrars, deputy
             registrars, or absentee ballot clerks reviewing the signature
             agree that the signature does not match any of the voter’s
             signatures on file . . . . If a determination is made that the
             elector’s signature on the mail-in absentee ballot envelope
             does not match any of the voter’s signatures on file . . . ,
             the registrar or absentee ballot clerk shall write the names
             of the three elections officials who conducted the signature
             review across the face of the absentee ballot envelope,
             which shall be in addition to writing “Rejected” and the

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             reason for the rejection as required under OCGA 21-2-
             386(a)(1)(C). . . .

Id. § 3(a) (emphasis added).

      52.    In other words, the Litigation Settlement provides that a ballot may not

be rejected for a signature mismatch unless (i) it is reviewed by three County

Officials, and (ii) at least two of those County Officials agree that the signature on

the absentee ballot envelope does not match the absentee voter’s signatures on file.

No such additional procedures or review are required, however, to determine

whether the signature on the absentee ballot oath matches a reference signature and

is thus a valid, countable ballot.

      53.    Importantly, the additional review procedures for rejected ballots

increase the average per-ballot review time and necessarily triple the number of

County Officials required to review an absentee ballot that would otherwise be

rejected, at a time when unprecedented numbers of absentee ballots are being cast

and increased COVID-19 safety restrictions limit the number of people available and

increase the amount of physical space required to review and count ballots. Ga. Exec.

Order No. 11.30.20.01 (Nov. 30, 2020) (extending COVID-19 State of Emergency

through January 8, 2021, past the date of the runoff election). Because the same

burdensome procedures do not apply to the determination of whether the signature

on the oath matches a reference signature, the additional procedures mandated by


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the Litigation Settlement make it virtually certain that Georgia officials, inundated

with a significant number of absentee ballots, will accept those ballots without

review in violation of O.C.G.A. § 21-2-386(a)(1)(B).

      54.    Moreover, Georgia law does not require or provide for training of

County Officials to conduct signature matching. As such, the matching process is

necessarily being applied inconsistently across the state.

      55.    Nor does Georgia law provide for oversight of the signature matching

process, which occurs as the votes are received and before they are processed. Thus,

there is no way to know whether the signature matching process is occurring at all,

let alone effectively.

  Georgia’s Signature Matching Process Has Not Been Applied Effectively or
                          Equally Across the State

      56.    In the November 3, 2020 general election, Georgia’s election officials

rejected a mere 719 absentee ballots for mismatched signatures, a rejection rate of

approximately 0.05%.

      57.    A county-by-county analysis of the signature matching rejection rates

on November 3, as well as a comparison of those prior election rates to the rejection

rates, demonstrates conclusively that the signature matching process is resulting in

the counting of thousands of votes unequally across the state, many without any

signature matching review whatsoever.

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        58.   First, the data demonstrates that several counties are not conducting

signature matching properly. Of Georgia’s 159 counties, fully 100 did not reject a

single absentee ballot because of a signature mismatch. It is implausible that 100

counties within the nation’s eighth largest state did not receive a single absentee

ballot with an improper signature. These counties represent a sizable portion of the

Georgia electorate.

        59.   Second, the data demonstrates significant differences in rejection rates

across counties, indicating that the signature matching process is being applied

unequally across the state. In contrast to the 100 counties that did not reject a single

ballot for a mismatched signature, the rejection rate in Taylor County (2.09%) was

more than forty times higher than the statewide rejection rate. Similarly, the rejection

rate in Clay County (1.20%) was more than twenty times higher than the statewide

rate.

        60.   Third, the vast disparity in rejection rates cannot be explained by

population size. For instance, Georgia’s least populous county, Taliaferro County,

had the third highest rejection rate of 0.65%, while Georgia’s second least populous

county, Quitman County, rejected zero ballots.

        61.   Fourth, the disparity also cannot be explained based on a county’s

geographic location within the state. Of the ten contiguous counties comprising the



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Atlanta region, see Atlanta Regional Comm’n https://atlantaregional.org/atlanta-

region/about-the-atlanta-region (“The Atlanta region includes Cherokee, Clayton,

Cobb, DeKalb, Douglas, Fayette, Fulton, Gwinnett, Henry and Rockdale counties .

. . .”), two counties (Douglas and Rockdale) rejected zero ballots for mismatched

signatures, while three others (Fayette, Gwinnett, and Henry) had rejection rates far

exceeding the statewide average.

      62.    Fifth, Georgia’s recently low signature rejection rate is dramatically

lower than signature rejection rates from other states. For example, Nevada’s

rejection rate for mismatched signatures in the 2020 general election was 0.42%, see

https://www.nvsos.gov/sos/home/showdocument?id=9058, which is more than

eight times higher than Georgia’s rejection rate.

      63.    Sixth, no known statistical analysis supports the county-by-county

rejection rates for mismatched signatures. To the contrary, the analysis establishes

that the likelihood of obtaining the rejection rates as reported by ten of the counties

(Cherokee, Cobb, DeKalb, Fulton, Dougherty, Gwinnett, Henry, Liberty, and

Taylor) is practically impossible, with a statistical likelihood of less than 0.01%.

      64.    As one federal court found, a signature mismatch rate of 0.35% is an

“extremely low rate of rejection due to a signature mismatch…” Saucedo v. Gardner,

335 F. Supp. 3d 202, 211 (D.N.H. 2018) (emphasis added). In light of that, Georgia’s



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rejection rate of 0.05%—representing a mere fraction of the rate found to be

“extremely low” in Saucedo—cannot be allowed to stand.

      65.    Seventh, numerous Georgia counties have extremely low or non-

existent numbers of rejected absentee ballots for missing signatures, including

Cherokee, Clayton, Cobb, Douglas, Muscogee, Paulding, and Richmond. This

generous acceptance, when combined with extremely now or non-existent signature

mismatch rates, is explained by the complete lack of any signature verification

occurring in some counties.

      66.    In Muscogee County, for example, data reported by the Secretary of

State show that zero absentee ballots in the 2020 general election were rejected for

lack of signature, or mismatched signature. Given the relatively large size of the

county’s electorate, with more than 20,000 absentee ballots cast, it is empirically

implausible that not a single ballot lacked a signature or had a mismatched signature.

 Only Prompt Action by This Court Will Prevent Injury to the Voting Rights of
                            Plaintiffs’ Members

      67.    The evidence gathered from November 3 clearly establishes that as a

result of the signature matching process, absentee ballots that would otherwise be

properly rejected and not counted will be improperly accepted and counted in the

2021 runoff election unless this Court takes action.




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      68.    Failure to prevent this imminent counting of unlawful absentee ballots

will result in the dilution of the lawfully cast ballots of Plaintiffs’ members. See

Reynolds v. Sims, 377 U.S. 533, 555 (1964) (“The right of suffrage can be denied by

a debasement or dilution of the weight of a citizen’s vote just as effectively as by

wholly prohibiting the free exercise of the franchise.”).

      69.    It will also harm Plaintiffs’ candidate-members’ “constitutional rights

under the First and Fourteenth Amendments to associate for political ends and to

participate equally in the electoral process.” Swanson v. Worley, 490 F.3d 894, 902

(11th Cir. 2007) (citations omitted).

      70.    This Court’s immediate intervention is required to ensure a lawful

signature matching process, because this harm cannot be resolved through post-

election review of ballots. Once an absentee ballot is separated from its envelope, it

is mixed in with all valid absentee ballots and “shall be counted.” O.C.G.A. § 21-2-

386(a)(1)(C). That process will begin on December 21.

      71.    As such, this Court should immediately order Defendants to implement

additional safeguards in the signature matching process. Specifically, the Court

should order Defendants to implement signature review of all absentee ballots by

three reviewers, including at least one reviewer from each political party represented

by the candidates.



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      72.    In the absence of unanimous agreement, the Court should further order

that the ballots be segregated for additional review consistent with procedures for

provisional ballots. See O.C.G.A. § 21-2-419.

      73.    To prevent arbitrary and unequal signature review across the state, the

Court should also order Defendants to provide signature-matching standards and

training to all reviewers.

      74.    Finally, to ensure the signature matching procedures are followed

consistently across the state, the Court should order Defendants to allow observers

to be present for the signature matching process in all counties.

      75.    This requested relief will both guarantee the integrity of the electoral

process in light of the haphazard and unequal application of the signature matching

process on November 3 and ensure that Georgia residents who lawfully cast a ballot

will have their votes properly counted.

      76.    Plaintiffs do not request that this Court preclude any lawful voters from

casting an absentee ballot.

                       FIRST CLAIM FOR RELIEF
(First and Fourteenth Amendment, as enforced by 42 U.S.C. § 1983 – UNDUE
         BURDEN ON VOTING AND ASSOCIATIONAL RIGHTS)

      77.    Plaintiffs incorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though set forth fully herein.



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      78.    Under the Anderson-Burdick balancing test, “[a] court considering a

challenge to a state election law must weigh ‘the character and magnitude of the

asserted injury to the rights protected by the First and Fourteenth Amendments that

the plaintiff seeks to vindicate’ against ‘the precise interests put forward by the State

as justifications for the burden imposed by its rule,’ taking into consideration ‘the

extent to which those interests make it necessary to burden the plaintiff's rights.’”

Burdick v. Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze, 460

U.S. 780, 789 (1983)). This test employs a flexible, sliding scale that analyzes

“severe” burdens on First and Fourteenth Amendment rights under “strict scrutiny,”

and lesser burdens under less exacting scrutiny. See New Georgia Project v.

Raffensperger, 976 F.3d 1278, 1280 (11th Cir. 2020).

      79.    In addition, “[t]he Fourteenth Amendment due process clause protects

against ‘the disenfranchisement of a state electorate.’” Curling v. Raffensperger, 397

F. Supp. 3d 1334, 1403 (N.D. Ga. 2019) (quoting Duncan v. Poythress, 657 F.2d

691, 702 (5th Cir. 1981)). “When an election process ‘reaches the point of patent

and fundamental unfairness,’ there is a due process violation.” Id. (quoting Fla. State

Conference of NAACP v. Browning, 522 F.3d 1153, 1183–84 (11th Cir. 2008)). The

debasement or dilution of votes may constitute a due process violation “even if such




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conduct does not completely deny Plaintiffs the right to vote.” Curling v. Kemp, 334

F. Supp. 3d 1303, 1322 (N.D. Ga. 2018).

      80.    “[C]andidates’ constitutional rights under the First and Fourteenth

Amendments to associate for political ends and to participate equally in the electoral

process” are likewise protected by these principles. Swanson v. Worley, 490 F.3d

894, 902 (11th Cir. 2007).

      81.    Under 42 U.S.C. § 1983, every person acting under color of state law

who deprives another person of his or her constitutional rights is also liable at law

and in equity.

      82.    Georgia’s signature matching procedure and its arbitrary and unequal

application will severely burden the First and Fourteenth Amendment rights of

Plaintiffs and their members.

      83.    Counties    Cherokee,     Cobb,    DeKalb,     and    Fulton   have    a

disproportionately and unprecedentedly low number of absentee ballots that are

rejected as a result of the signature on the absentee ballot envelope not appearing to

be valid. Several of these counties also have a disproportionally and unprecedentedly

low number of absentee ballots that are rejected as a result of a missing signature on

the absentee ballot envelop.




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      84.    But for Georgia’s signature-review-and-matching process, ballots on

which the signature does not appear to be valid would be “rejected” as invalid

absentee ballots and may not be lawfully tabulated, unless cured consistent with the

rejected ballot cure process.

      85.    By diluting lawful votes, Defendants will severely burden the

associational and voting rights of Plaintiffs and their members.

      86.    In addition, Defendants’ actions will discourage lawful voting, further

burdening these rights.

      87.    Defendants cannot justify the burden on these rights.

      88.    The burden also amounts to fundamental unfairness.

      89.    Accordingly, Defendants’ counting and certification of unlawful ballots

will imminently place an undue and fundamentally unfair burden on Plaintiffs’ and

its members’ First and Fourteenth Amendment rights. See, e.g., Roe v. State of Ala.

By & Through Evans, 43 F.3d 574, 581 (11th Cir. 1995) (holding unconstitutional

state’s decision to count unlawful absentee ballots because doing so would have

“effectively stuff[ed] the ballot box” thereby “dilut[ing] the votes of those voters

who met the requirements of [the absentee voting law] as well as those voters who

actually went to the polls on election day.” (citations and internal quotations

omitted)).



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                  SECOND CLAIM FOR RELIEF
(Fourteenth Amendment, as enforced by 42 U.S.C. § 1983 – VIOLATION OF
                           DUE PROCESS)

      90.    Plaintiffs incorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though set forth fully herein.

      91.    The Fourteenth Amendment provides that states shall not “deprive any

person of life, liberty, or property, without due process of law.” U.S. Const. amend.

XIV, § 1.

      92.    The right to vote is a protected liberty interest.

      93.    The right of association is a protected liberty interest.

      94.    Under 42 U.S.C. § 1983, every person acting under color of state law

who deprives another person of his or her constitutional rights is also liable at law

and in equity.

      95.    Georgia’s signature matching procedure and its arbitrary and unequal

application will erroneously deprive Plaintiffs and their members of their

fundamental rights of association and suffrage without due process of law, including

through the debasement that will result from permitting unlawful tabulation and

certification of invalid absentee ballots.

      96.    It is impossible to remedy that deprivation after an invalid absentee

ballot is accepted and mixed with valid ballots.



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      97.   The additional procedural safeguards included in Plaintiffs’ prayer for

relief would prevent or substantially reduce the unlawful deprivation of the

fundamental rights of Plaintiffs and their members.

      98.   The state would face only a minimal administrative burden in

implementing these procedures and has no legitimate interest in tabulating and

certifying invalid ballots. Due Process thus demands the additional procedures

requested by Plaintiffs. See Mathews v. Eldridge, 424 U.S. 319, 334–35 (1976).

                   THIRD CLAIM FOR RELIEF
(Fourteenth Amendment, as enforced by 42 U.S.C. § 1983 – VIOLATION OF
                THE EQUAL PROTECTION CLAUSE)

      99.   Plaintiffs incorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though set forth fully herein.

      100. Under the Equal Protection Clause of the Fourteenth Amendment, no

State shall “deny to any person within its jurisdiction the equal protection of the

laws.” U.S. Const. Amend. XIV.

      101. “[T]he idea that one group can be granted greater voting strength than

another is hostile to the one man, one vote basis of our representative government.”

Bush v. Gore, 531 U.S. 98, 107 (2000).




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      102. Under 42 U.S.C. § 1983, every person acting under color of state law

who deprives another person of his or her constitutional rights is also liable at law

and in equity.

      103. Georgia’s signature matching procedure and its arbitrary and unequal

application will deprive Plaintiffs and their members of equal protection of the laws.

      104. Counties Cherokee, Cobb, DeKalb, and Fulton as well as Dougherty,

Gwinnett, Henry, Liberty and Taylor have implemented Georgia’s signature-review-

and-matching procedure inconsistently, with the first four counties having extremely

low mismatch rates and the latter four having statistically high mismatch rates when

compared to the norm for the November 3, 2020 election in Georgia.

      105. As a result, the disparity in conducting Georgia’s signature-review-and-

matching procedure subjects similarly situated voters to differing standards and

signature-matching procedures based on their county of residence.

      106. This disparate treatment is unquestionably a violation of the

“rudimentary requirements of equal treatment and fundamental fairness.” Bush, 531

U.S. at 109.

      107. Accordingly, Defendants’ counting and certification of invalid votes

that would otherwise be rejected in other Georgia counties will imminently deny

Plaintiffs and their members equal protection of the laws.



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                                PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in

their favor and against Defendants, as follows:

     A. Declare that Georgia’s signature matching procedure violates the First and

        Fourteenth Amendments to the United States Constitution;

     B. Preliminarily and permanently enjoin Defendants to implement signature

        review of all absentee ballots signature verification by three reviewers, in the

        presence of at least one meaningful observer from each political party

        represented by the candidates;

     C. Preliminarily and permanently enjoin Defendants from validating signatures

        where one of the reviewers objects to the validity of a signature, unless (i) the

        questioned signature and associated ballot go through the process for curing

        defective ballots, O.C.G.A. § 21-2-386(D);

     D. Preliminarily and permanently enjoin Defendants to provide consistent

        signature-matching standards and training to all reviewers;

     E. Preliminarily and permanently enjoin Defendants to allow observers to be

        meaningfully present for the signature matching process in all counties;

     F. Award Plaintiffs their allowable costs and attorneys’ fees pursuant to 42 U.S.C.

        § 1988 or any other basis in law, as appropriate; and



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 G. Grant such further and additional relief as this Court deems just and proper.


December 10, 2020                            By: /s/ Peter N. Farley
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                                             Georgians for Loeffler
                                             *Pro Hac Vice Applications
                                             Forthcoming




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                                   VERIFICATION



      I declare under penalty of perjury under the laws of Georgia and the United

States of America, including 28 U.S.C. § 1746, that I have read the foregoing

Verified Complaint and know the contents thereof, and that such Verified

Complaint is true and correct based on my personal knowledge, except as to those

things stated upon information and belief, and as to those I believe them to be true.

      This 10th day of December, 2020.




Sworn to and before me this 10th day of December, 2020.

�Jc-.)��
Notary Public

My Comrnission Expires:
          KAREN I HENTSCHEL
           Notacv Public Georgia
               Cobb County
          My Commission Expires
            February 03, 2024




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Plaintiffs’ Verified Complaint has been

prepared in accordance with the font type and margin requirements of L.R. 5.1,

NDGa, using font type of Times New Roman and a point size of 14.

Dated: December 10, 2020

                                                  Counsel for Plaintiffs

                                                  /s/ Peter N. Farley




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day caused the foregoing in the above-

captioned matter to be filed with the United States District Court for the Northern

District of Georgia, Atlanta Division, via the Court’s CM-ECF system. I also

hereby certify that I caused the foregoing in the above-captioned matter to be

served, via email on December 10, 2020 and by hand delivery on December 11,

2020, with the appropriate Waiver of Service of Summons forms, upon:

      Secretary of State Brad Raffensperger
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